Case 2:17-CV-05132-.]HS Document 1 Filed 11/03/17 Page 1 of 13

15 4a (Rev_ 06/17}

CIVIL COVER SHEET

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2000 N|arket Sireet, Suite 2750, Phi|adeiphia, F’A 19103

SQE<§§§RM§€ Company of the Southwest

40 Wantage Avenue, Branchvil|e, NJ 07890

Counly ofReSidezicc of`First Listed Dcfendant _SUSSE._X_CO_U_my_, NJ _
{IN U.S PLA£'NH|'"]"CASES ONLY)

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Vl. CAUSE OF ACT|ON

Brief description of cnuse:

 

 

 

 

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Case 2:17-CV-05132-.]HS Document 1 Filed 11/03/17 Page 2 of 13

.lS 44 Rcvcrsc (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING ClVIL COVER SHEE'I` FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of oourt. This form, approved by the Judicial Conf`erence of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. 'I`he attorney filing a case should complete the form as follows:

i.(a)

(b)

(¢)

lI.

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Plaintiffs-Defcndants. Enter names (last, first, middle initial) of plaintiff and defendantl If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. ln U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: ln land
condemnation cases, the county of residence of the "defcndant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. lf there are several attomeys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. lf there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (l) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencics, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, wherejurisdiction arises under the Constitution of the United States, an amendment
to thc Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box l or 2 should be marked.

Diversity of citizenship (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residencc (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. lf there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (l) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under 'I'itle 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under 'l`itle 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Mu|tidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE 'I`HAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Ru|e 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. lf there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Datc and Attorncy Signature. Date and sign the civil cover sheet.

Case 2:17-CV-05132-.]HS Document 1 Filed 11/03/17 Page 3 of 13
UNITED STATES DISTRICT COURT

FOR THE EASTERN DlSTRlCT OF PENNSYLVANIA w DES|GNATION FORM to be used by counsel to indicate the category ofthc ease for the purpose of
assignment to appropriate ealendar.

Addrcs§ or plaintiff Simon Mc|vor and Kathy |V|c|vor, 4 Steep|echase Cir|oe, Horsham, PA 19044

 

Addrcss otDcfcndttnt: Sefective |nsurance Comoanv, 40 Wantacte Avenue, Branchvi|le, NJ 0?890

Place of Accidcnt, lncidcnt or Transaction: LanSdale, PA

 

(Use Reverse St'a"e Fc)r/ldrt'r't‘r'ortai' Sprtce]

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or ntore ofits stoclt?

 

[Attach two copies oftltc Dist:losurc Statctrtent Form in accordance with ch.R.Civ.P. T.l(a)} ifch No|j
Docs this case involve multidistrict litigation possibilitics'? YeslIl No[a
REI.A TED CASE, IF ANY: N/A
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Civil cases arc deemed related when yes is answered to any ofthe following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
chl:] Nol](
2. Docs this case involve the same issue of fact or grow out of tltc same transaction as a prior suit pending or within one year previously terminated
action in this court‘?
chm No[z
3. Docs this case involve the validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? chl:l NOU

4. ls this case a second or successive habeas corptts. social security appcal, or pro se civil rights case filed by the same individunl‘?
chl:l Nolz

 

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ARBITRATION CERTIFICATION
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], ROber‘l S. iVii||et' . counsel ofrecord do hereby eertify:
ill Pttrsuant to Local Civil Rulc 53.2, Section 3(c)(2), that to the best oftuy knowledge and bclicf, the damages recoverable in this civil action case exceed the sum of
5150,000.00 exclusive of interest and cost_s;
EJ Rclief`othcr titan monetary damages is sought

DATE; October 30, 2017 Robert S. Mi||er 65854
Attomcy-at-l_,aw Attomcy l.D.#
NOTE: A trial de novo will bc a trial by jury only ifthcre has been compliance with F.R.C.l’. 38.

g tc®qulcnding or within one year previously terminated action in this court
d / /9”'/_` 65854

Attomcy~atvlaw Attorney I.D.#

 

 

l certify that, to my knowledgc, the th
except as noted abovc.

    

oATE: October 30, 2017

ctv. 609 (5/2012)

Case 2:17-cV-05132-.]HS Document 1 Filed 11/03/17 Page 4 of 13

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Simon Mc|vor and Kathy Mc|vor ClVIL ACT]ON

4 Steep|echase Circ|e, Hor\sham, PA 19044

Se|eetive |nsurance Company _
40 Wantage Avenue, Branchvi|le, NJ 07890 ' NO'

In accordance with the Civil Justice Expense and Delay Reduction Plan ot` this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 ofthe plan Set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Tracl< Designation Forrn specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLL()WING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review ofa decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benetits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Loca| Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side ofthis form for a detailed explanation ofspecial
management cases.) ( )

(t) Standard Management _ Cases that do not fall into any one of th ci<s. ( X)

   

 

 

 

Date Attorney-at-law Attorney for Plaintiff
215-569»0900 215-569-4621 millerr@wnw|aw.com
-'mephone FAX Number E-Mail Address

(Civ. sam 10102

Case 2:17-cV-05132-.]HS Document 1 Filed 11/03/17 Page 5 of 13

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned

_(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit ajudicial officer's authority in any case
pending before thatjudicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Loca| Civil Rules 40.l and 72.| , or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Comp|ex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (l) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition It may include two or more
related cases, Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.

 

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THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

SIMON MCIVOR and :

KATHY MCIVOR, his Wife ' : CIVIL ACTION
4 Steeplechase Circle '

Horsham, PA 19044

 

vs. : NO.
SELECTIVE INSURANCE COMPANY
OF THE SOUTHEAST
40 Wantage Avenue :
Branchville, NJ 07890 : JURY TRIAL DEMANDED
CIVIL ACTION COMPLAINT
l. Plaintiffs, Simon Mclvor and Kathy Mclvor, his wife, are citizens and residents of the

Commonwealth of Pennsylvania, residing therein at 4 Steeplechase Circle, Horsham, PA 19044.

2. Defendant, Selective Insurance Company of the Southeast (hereinafter “Selective”), is a
corporation organized and existing under and by virtue of the laws of the State of New Jersey with a
principle place of business therein at 40 Wantage Avenue, Branchville, New Jersey 07890.

3. This Court has jurisdiction pursuant to 28 U.S.C. §1332(a) because the amount in
controversy, exclusive of interest and costs, exceeds the sum of Seventy~Five Thousand ($75,000.00) Dollars
and thereis diversity of citizenship between the plaintiff and defendant

4. Venue in this Court is proper under 28 U.S.C. §1391 because the subject insurance contract is
written within this district.

5. On or about May 28, 2015, at or about 4:00 p.m., plaintiff, Simon McIvor, was the operator of

a motor vehicle on or near South Valley Forge Road at or near Whites Road in Lansdale, Pennsylvania.

 

 

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6. On or about May 28, 2015, at or about 4:00 p.m., an underinsured operator of an underinsured
motor vehicle was travelling on or near South Valley Forge Road at or near Whites Road in Lansdale,
Pennsylvania.

7. At the time and place aforesaid, the aforesaid underinsured operator and the aforesaid
underinsured motor vehicle were underinsured.

8. At the time and place aforesaid, the motor vehicle in which plaintiff, Simon McIvor, was the
operator was insured with defendant, Selective, under a policy for automobile insurance number S 2168602
(hereinafter “policy”).

9. At the time and place aforesaid, said policy issued by defendant, Selective, was for no less
than one (l) motor vehicle(s) then currently registered in Pennsylvania.

10. Within the above identified policy of automobile insurance, defendant, Selective, by the terms
of which it contracted to pay first party benefits on account of injuries from a motor vehicle accident,
including but not limited to Underinsured Motorist (hereinafter “UIl\/I”) benefits, to plaintiff for injuries
arising from a motor vehicle accident involving an underinsured motor vehicle and/or operator.

ll. Defendant’s, Selective, policy number S 2168602 provides UIM benefits under said policy of
no less than One Million ($1,000,000.00) Dollars per person.

l2. Defendant, Selective’s, said policy for automobile insurance was in full force and effect on
May 28, 2015.

13. Additional yet to be identified policies issued by defendant under which plaintiff may be an

insured on the date of this accident may have also been in full force and effect on May 28, 2015.

 

 

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14. At all times material hereto, defendant, Selective, was acting by and through its respective
agents, servants and/or employees operating in the course and scope of their employment with defendant,
Selective,

15. At the time and place as aforementioned, the underinsured operator of the underinsured motor
vehicle carelessly and negligently operated said motor vehicle so as to cause a crash with the motor vehicle
operated by plaintiff, Simon McIvor, as a result of which plaintiff sustained serious, painful and permanent
personal injuries, more particularly hereinafter described

16. At the time and place as aforementioned, the underinsured operator of the underinsured motor
vehicle negligently, carelessly and recklessly cared for said vehicle and so negligently, recklessly and
carelessly, operated said vehicle; failed to bring said vehicle to a stop; failed to make proper observations;
failed to exercise that degree of caution and circumspection required by law under the circumstances; failed
to properly guide, steer and control the vehicle and were otherwise careless and inattentive.

l7. The wrongful and negligent conduct of underinsured operator of the underinsured motor
vehicle consisted of, among other things, the following:

(a) failing to have said motor vehicle under adequate and
proper control;

(b) operating said motor vehicle at a high and excessive rate
of speed under the circumstances;

(c) failing to use due caution in driving said motor vehicle upon
the highway;

(d) failing to take due note of the point and position of other
motor vehicles upon the roadway;

 

 

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(e) failing to maintain an assured clear distance with other motor vehicle upon the
roadway including the motor vehicle operated by plaintiff;

(f) failing to yield the right of way;

(g) failing to warn plaintiff;

(h) failing to stop said motor vehicle;

(i) failing to maintain a proper lookout;

(i) disregarding the designated lanes of travel on the roadway;
(k) disregarding applicable traffic controls and/or signals;

(l) striking the motor vehicle operated by plaintiff in the rear;

(m) failing to operate said motor vehicle reasonably under the
circumstances;

(n) violating the statutes and ordinances of the Commonwealth of
Pennsylvania, and the local municipality where the crash
occurred pertaining to the operation of a motor vehicle under the
circumstances;

(o) striking the motor vehicle operated by plaintiff;

(p) causing injuries to plaintiff;

(q) failing to prevent injuries to plaintiff

COUNT I
HUSBAND-PLAINTIFF, SIMON MCIVOR V. DEFENDANT

18. Plaintiffs incorporate the preceding paragraphs as if same were set forth at length herein.
19. As a direct and proximate result of the negligence of underinsured operator of the

underinsured motor vehicle, as aforesaid, plaintiff, Simon Mclvor, Was caused to sustain and did sustain

 

 

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serious and permanent personal injuries requiring the care and treatment of physicians, hospitalization and
medication and has been and will in the future continue to be hampered in his daily routine.

21. As a result of the aforesaid collision, plaintiff has undergone great physical pain and mental
anguish, and he Will continue to endure the same for an indefinite time in the future, to his great detriment
and loss.

22. As a result of the collision, plaintiff, Simon McIvor, sustained serious and painful bodily
injuries, necessitated medical treatment; caused plaintiff great pain and suffering and left the plaintiff with
permanent disabilities which will in the future incapacitate, cause pain and suffering and require medical
treatment

23. Plaintiff"s injuries include, but are not limited to right shoulder bicipital tenosynovitis
requiring open subpectoral biceps tenodesis as Well as other injuries to his head, neck and back, their bones,
cells, tissues, nerves, muscles and functions; and shock and injury to his nerves and nervous system, some or
all of which plaintiff has been advised are or may be permanent in nature.

24. As a direct and proximate result of the aforesaid negligence and the collision, plaintiff has
suffered and will continue to suffer from pain, discomfort, inconvenience, anxiety, embarrassment, the
inability to engage in his usual activities and the deprivation of the ordinary and usual enjoyment of life and
life’s pleasures.

25. As adirect and proximate result of the aforesaid negligence and the collision, plaintiff has
become obliged to expend and/or incur large sums of money for medical attention and various purposes in an
attempt to effect a cure for the aforesaid injuries, and plaintiff may be compelled to expend and/or incur

additional sums for such medical attention and purposes for an indefinite time in the future.

 

 

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26. As a direct and proximate result of the aforesaid negligence and the collision, plaintiff has
suffered an injury which is permanent, irreparable and severe.

27. As a direct and proximate result of the aforesaid negligence and the collision, plaintiff was
unable to attend to his daily duties and occupation, thereby suffering a loss of earnings and/or impairment of
earning capacity, which plaintiff may continue to suffer for an indefinite time in the future.

28. As a direct and proximate result of the aforesaid negligence and the collision, plaintiff has or
may suffer a severe loss because of expenses which have been or may be reasonably incurred in obtaining
ordinary and necessary services in lieu of those which the plaintiff would have performed, not for income,
but for the benefit of himself, if he had not been so grievously inj ured.

29. As a result of the aforesaid negligence, plaintiffs have incurred associated incidental expenses
for which the defendant, Selective, is liable.
WHEREFORE, plaintiffs demand judgment against defendant in an amount in excess of Seventy-

Five Thousand ($75,000.00), as well as lawful interest and costs.

COUNT II
WIFE-PLAINTIFF. KATHY MCIVOR V. DEFENPANT

30. Plaintiffs incorporate the preceding paragraphs as if same were set forth at length herein.

31. As a result of the injuries sustained by husband-plaintiff, Simon McIvor, as aforesaid, wife-
plaintiff, Kathy McIvor, has been deprived of the society, companionship and consortium of her husband
herein named, and she will be deprived of same for an indefinite time in the future, to her great detriment

and loss.

 

 

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WHEREFORE, plaintiffs demand judgment against defendant in an amount in excess of Seventy-

Five Thousand ($75,000.00), as well as lawful interest and costs.

COUNT III
PLAINTIFFS V. DEFENDANT

32. Plaintiff incorporates the preceding paragraphs by reference as if set forth at length herein.
At the time and place as aforesaid, the underinsured operator and the underinsured motor vehicle were
“underinsured.”

33. At the time and place as aforesaid, the underinsured operator and the underinsured motor
vehicle were “underinsured”.

34. Within the said policy of automobile insurance, by the terms of which defendant, Selective,
contracted to pay first party benefits on account of plaintiffs’ injuries, including but not limited to
Underinsured l\/Iotorist (hereinafter “UIM”) benefits, to plaintiffs for injuries arising from a motor vehicle
accident involving an underinsured driver and underinsured motor vehicle.

35. Plaintiffs timely placed defendant, Selective, on notice for “UIM” benefits after the subject
motor vehicle crash.

36. Plaintiffs properly complied with the terms and conditions of said policy to bring a claim for
“UIM” benefits under said policy.

37. The defendant, Selective, policy of automobile insurance provided “UIM” benefits with a
total limit of no less than $1,000,000.00 per person.

38. Plaintiffs are entitled to make a claim for Underinsured Motorist benefits with Defendant,

Selective, pursuant to said policy.

 

 

 

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39. Plaintiffs have demanded payment of Underinsured l\/lotorist benefits from Defendant,
Selective.

40. Defendant, Selective, is obligated to provide Underinsured Motorist benefits to Plaintiffs.

4l. lt is the duty and obligation of Defendant, Selective, to pay Underinsured Motorist benefits to
Plaintiffs

42. Defendant, Selective, is in breach of its contractual obligations to plaintiffs

WHEREFORE, plaintiffs demand judgment against defendant in an amount in excess of Seventy-

Five Thousand ($75,000.00), as well as lawful interest and costs.

A jury trial is demanded

 

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